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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

  JAGDEEP CHEEMA, Individually and on                 Case No:
  behalf of all others similarly situated,

         Plaintiff,                                   JURY TRIAL DEMANDED

         v.                                           CLASS ACTION COMPLAINT

  NIKE, INC.,

         Defendant.



       Plaintiff Jagdeep Cheema (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendant Nike, Inc. (“Defendant”), alleges the following based upon personal knowledge as to

Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based upon,

among other things, the investigation conducted by and through his attorneys, which included,

among other things, a review of the Defendant’s public statements, social media posts, authorities,

media reports, websites, and other publicly available reports and information about the Defendant

and The Nike NFTs (defined below), and information readily obtainable on the Internet. Plaintiff



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believes that substantial additional evidentiary support will exist for the allegations set forth

herein, after a reasonable opportunity for discovery. Plaintiff hereby alleges as follows:

                                        INTRODUCTION

       1.      In the crypto world, a “rug pull” is when a promoter abruptly abandons a project

after raising assets, leaving investors holding the bag.

       2.      In one scenario known as a “soft rug pull,” investors buy crypto assets with the

expectation that the promoter will continue to market the project and increase the interest in and

value of the crypto assets, but the promoter shuts the project down instead.

       3.      The scenario is all too common, unfortunately, warranting caution when buying

tokens in reliance on the continuing marketing efforts of unscrupulous crypto promoters.

       4.      One does not expect it from Nike, however, the international sports juggernaut

with yearly revenue of around $50 billion. But that is what Nike did.

       5.      Plaintiff and class members purchased Nike-themed non-fungible tokens (often

shortened to NFTs), crypto collectibles, or other crypto assets (“The Nike NFTs”) from a Nike

subsidiary called RTFKT, Inc. (“RTFKT”) which Nike had acquired to capitalize on the crypto

bull market in late 2021.

       6.      The Nike NFTs were designed to be traded, peer-to-peer, on the secondary market.

In addition to the secondary market sales (of which Nike took a cut), Nike created a gamified

ecosystem in which the Nike NFTs could be used to complete challenges and quests to reveal

rewards and earn prizes, including limited edition, real-life Nike products. The prospect of these

prizes and rewards, in turn, provided value to the Nike NFTs, stimulating demand, eliciting

secondary market trading and, for a time, rising prices.




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       7.      In short, Nike used its iconic brand and marketing prowess to hype, promote, and

prop up the unregistered securities that RTFKT sold.

       8.      Because The Nike NFTs derived their value from the success of a given promoter

and project – here, Nike and its marketing efforts – investors purchased this digital asset with the

hope that its value would increase in the future as the project grows in popularity based on the

Nike brand.

       9.      As this type of digital asset is properly classified as a security under relevant

(including federal) law, the issuers of this type of token are required to register them and file

relevant statements with the authorities (including the U.S. Securities Exchange Commission (the

“SEC”)) and comply with relevant (including federal) securities laws. The Nike NFTs were never

registered as such.

       10.     What is more, after capitalizing on the boom in crypto assets, Nike caused the rug

to be pulled out from under the Nike NFTs. In December of 2024, RTFKT announced on its

official twitter page that it was winding down operations (in a twitter post from the official

RTFKT twitter account entitled, strangely enough, “A New Chapter for RTFKT”).

       11.     Investors were decimated. With the end of RTFKT and, by extension, Nike’s many

targeted promotional initiatives aimed at hyping up the Nike NFTs and stimulating demand, the

reason that so many had purchased the Nike NFTs – to complete quests to gain access to additional

NFTs or physical Nike products, and/or to resell the Nike NFTs on the secondary market to others

– evaporated instantly.

       12.     Predictably, prices plunged and did not recover. Investors – some of whom are

cited in this complaint – and the crypto community at large lamented Nike’s brazen rug pull.




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           13.     Plaintiff and others would never have purchased the Nike NFTs at the prices they

did, or at all, had they known that the Nike NFTs were unregistered securities or that Nike would

cause the rug to be pulled out from under them.

           14.     As a result of Nike’s promotion of the unregistered securities and also its rug pull,

Plaintiff and the Class – many of whom are retail investors who lack the technical and financial

sophistication necessary to have evaluated the risks associated with their investment in The Nike

NFTs and were denied the information that would have been contained in the materials required

for the registration of The Nike NFTs – have suffered significant damages in an amount to be

proven at trial.

                                    JURISDICTION AND VENUE

           15.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332 because: (1) there are 100 or more (named or unnamed) class members; (2) there

is an aggregate amount in controversy exceeding $5,000,000, exclusive of interest or costs; and

(3) there is minimal diversity because at least one plaintiff and defendant are citizens of different

states).

           16.     This Court may exercise personal jurisdiction over the Defendant because

Defendant maintains business in this District, maintains and has continuous and systematic

contacts with this District, does substantial business in this State and within this District, and

engaged in unlawful practices in this District as described in this Complaint, so as to subject

themselves to personal jurisdiction in this District, thus rendering the exercise of jurisdiction by

this Court proper and necessary.

           17.     Venue is proper in this Judicial District pursuant to 28 U.S.C. §1391(b) and (c)

and 18 U.S.C. § 1965. Defendant engaged in the misconduct in this Judicial District and promoted,



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advertised, and hyped up The Nike NFTs in this Judicial District. Moreover, subsequent damages

took place in this Judicial District.

        18.     Venue and jurisdiction are additionally proper in this District because many of the

acts complained of originated and/or occurred, at least in part, in this Judicial District. Further,

Defendant sought investors for the Nike NFTs in this Judicial District and encouraged their

investment.

                           PARTIES AND RELEVANT NON-PARTIES

        19.     Plaintiff Jagdeep Cheema is a natural person who, along with other members of

the Class, purchased the Nike NFTs, unregistered securities, and were subject to Defendant’s

deceptive acts and practices promoting them.

        20.     Defendant Nike, Inc. is a corporation organized under Oregon law. It is a major

international footwear, athletics and apparel corporation with revenues of approximately $50

billion per year. Nike’s Swoosh is iconic and one of the most recognized logos in the world.

        21.     RTFKT, Inc. is a corporation organized under Delaware law. RTFKT purports to

have “emerged not as another corporate venture, but as a digital renaissance powered by creative

chaos.” RTFKT partners with brands and others to issue digital crypto assets. RTFKT was

acquired by Nike in December of 2021. RTFKT is a separate corporate entity and brand from

Nike, and it is not Nike’s alter ego or agent.

                                          BACKGROUND
                                  Brief Overview of Crypto Assets

        22.     Crypto assets are digital assets designed to function as a medium of exchange, a

store of value, or both.

        23.     Crypto assets rely on a variety of cryptographic principles to secure transactions,

control the creation of additional units, and authenticate the transfer of digital assets.


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        24.     Bitcoin was the world’s first cryptocurrency. It is also the world’s largest and most

popular cryptocurrency, with a market capitalization over $2 trillion. Bitcoin was the fastest asset

to reach a $1 trillion market capitalization, which it achieved in only twelve years.1

        25.     At the core of Bitcoin is a public ledger that tracks the ownership and transfer of

every unit of bitcoin. The ledger is known as a blockchain.

        26.     Blockchains stand at the core of crypto assets. While their technical protocols vary,

blockchains are generally designed to achieve similar goals of decentralization and transparency.

        27.     Accordingly, blockchains are designed as a framework of incentives that encourage

people to do the work of validating transactions. In the case of Bitcoin, those engaged in the

validation must solve a “Proof of Work” mathematical problem by expending computational

resources. The first person to solve the “Proof of Work” problem is rewarded in newly minted

bitcoin. This process is known as “mining” bitcoin.

        28.     Mining is one method of acquiring cryptocurrencies like bitcoin. Another is simply

to buy cryptocurrencies from another party, typically on an online cryptocurrency exchange.

        29.     While bitcoin was the only cryptocurrency listed on the exchanges shortly

following its creation in 2009, there are now an ever-growing array of thousands of

cryptocurrencies and other digital assets. Following the surge in cryptocurrency interest in recent

years, the market capitalization of major cryptocurrencies has reached well over $3 trillion.

        30.     Bitcoin is a commodity, and not a security, because it allows for fast and secure

transactions, can serve as a long-term store of value, and is decentralized. Critically, Bitcoin is free

from any government or private control. There is no entity behind Bitcoin that can cause the price


1
 Because the term “bitcoin” can refer to the system as well as the unit of exchange, the accepted
practice is to use “Bitcoin” to refer to the system, and “bitcoin” to refer to the units of exchange
or currency.

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of bitcoin to increase through prudent management or decrease through mismanagement. Rather,

the cost of bitcoin is determined solely by market forces, and one buying bitcoin is not investing

in a common enterprise. It is Bitcoin’s decentralized nature that makes it a non-security under the

law.

          31.    Ethereum is the second-most popular cryptocurrency, with a market capitalization

that is currently close to $300 billion. Ethereum uses a blockchain similar to that used by Bitcoin.

          32.    Unlike Bitcoin, however, Ethereum was designed to enable “smart contract”

functionality. A smart contract is code that verifies and enforces the negotiation or performance of

a contract. Smart contracts can be self-executing and self-enforcing, potentially lowering the

transaction costs associated with traditional contracting.

          33.    The customizable nature of Ethereum makes it suitable for a variety of uses,

including the creation of unique assets such as NFTs. The Nike NFTs at issue here reside on the

Ethereum blockchain.

                                  SEC’s Approach to Crypto Assets

          34.    Aside from Bitcoin and Ethereum, there are myriad cryptocurrencies and fungible

and nonfungible crypto assets that are securities, like The Nike NFTs.

          35.    Moreover, the definitions of “security” in Section 2(a)(1) of the Securities Act of

1933 (the “Securities Act”), 15 U.S.C. 77b(a)(1), and Section 3(a)(10) of the Securities Exchange

Act of 1934 (the “Exchange Act”), 15 U.S.C. 78c(a)(10), include not only conventional securities,

such as “stock[s]” and “bond[s],” but also the more general term “investment contract.”

          36.    Along these lines, in Reves v. Ernst & Young, the United States Supreme Court

stated:

          The fundamental purpose undergirding the Securities Acts is ‘to eliminate serious
          abuses in a largely unregulated securities market.’ United Housing Foundation, Inc.


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         v. Forman, 421 U.S. 837, 421 U.S. 849 (1975). In defining the scope of the market
         that it wished to regulate, Congress painted with a broad brush. It recognized the
         virtually limitless scope of human ingenuity, especially in the creation of ‘countless
         and variable schemes devised by those who seek the use of the money of others on
         the promise of profits, SEC v. W.J. Howey Co., 328 U.S. 293, 328 U.S. 299 (1946),
         and determined that the best way to achieve its goal of protecting investors was ‘to
         define the term ”security” in sufficiently broad and general terms so as to include
         within that definition the many types of instruments that in our commercial world
         fall within the ordinary concept of a security.’ … Congress therefore did not attempt
         precisely to cabin the scope of the Securities Acts … Rather, it enacted a definition
         of ‘security’ sufficiently broad to encompass virtually any instrument that might be
         sold as an investment.

494 U.S. 56, 60–61 (1990).

         37.    Crafted to contemplate not only known securities arrangements in existence at the

time, but also any prospective instruments created by those who seek the use of others’ money on

the promise of profits, the definition of “security” is broad, sweeping, and designed to be flexible

so as to capture new instruments that share the common characteristics of traditional securities. As

Supreme Court Justice (and former SEC Commissioner (1935) and Chair (1936-37)) William O.

Douglas opined in Superintendent of Insurance v. Bankers Life and Casualty Co.:

         We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent schemes in
         connection with the purchase or sale of securities, whether the artifices employed
         involve a garden type variety fraud, or present a unique form of deception. Novel
         or atypical methods should not provide immunity from the securities laws.

404 U.S. 6, 14 n.7 (1971) (quoting A. T. Brod & Co. v. Perlow, 375 F.2d 393, 397 (2d Cir. 1967)).

         38.    Federal courts have already confirmed the SEC’s jurisdiction in numerous crypto-

related emergency asset freeze hearings, in the same way it has by federal courts across the country

since Howey, which the Supreme Court adopted over 75 years ago.2 That decision resulted in the

Howey Test, which is used to determine the presence of an investment contract. The Howey Test

holds that an investment contract exists if there is an “investment of money in a common enterprise


2
    SEC v. W.J. Howey Co., 328 U.S. 293 (1946).

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with a reasonable expectation of profits to be derived from the efforts of others.”3 The Howey Test

is the principal method used by federal courts, as well as the SEC, to determine if a given digital

asset is a security

          39.   The SEC has used multiple distribution channels to share its message and concerns

regarding crypto assets, digital trading platforms, initial coin offerings, and other digital asset

products and services over the past decade. The SEC first made investors aware of the dangers of

investing in digital assets in 2013 when the Office of Investor Education and Advocacy issued an

Investor Alert on “Ponzi Schemes Using Virtual Currencies”4

          40.   A year later, the same office issued an Investor Alert on “Bitcoin and Other Virtual

Currency-Related Investments.”5

          41.   In 2017, the Commission took the rare step of releasing a Section 21(a) Report of

Investigation that looked at the facts and circumstances of The DAO, which offered and sold

approximately 1.15 billion DAO Tokens in exchange for a total of approximately 12 million Ether

(“ETH”) over a one-month period in 2016.6

          42.   The SEC applied the Howey Test to the DAO tokens and concluded that they were

securities under the Securities Act of 1933 (“Securities Act”) and the Securities Exchange Act of

1934 (“Exchange Act”).7 While The DAO, and DAO tokens, were no longer operational at the




3
    Id.
4

https://web.archive.org/web/20240227124314/https://www.sec.gov/investor/alerts/ia_virtualcurr
encies.pdf.
5
  https://web.archive.org/web/20241121143702/https://www.investor.gov/introduction-
investing/general-resources/news-alerts/alerts-bulletins/investor-alerts/investor-39.
6

https://web.archive.org/web/20240828093936/https://www.sec.gov/files/litigation/investreport/3
4-81207.pdf.
7
  Id.

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time due to a high-profile hack that resulted in the theft of most DAO assets, the SEC chose to

release the report “to advise those who would use a Decentralized Autonomous Organization

(‘DAO Entity’), or other distributed ledger or blockchain-enabled means for capital raising, to take

appropriate steps to ensure compliance with the U.S. federal securities laws.”8

       43.     In 2019, the SEC released a “Framework for ‘Investment Contract’ Analysis of

Digital Assets” which provided additional details on when a digital asset has the characteristics of

an investment contract and “whether offers and sales of a digital asset are securities transactions.”9

       44.     In addition, the SEC has publicized its position on digital assets, including

cryptocurrencies, NFTs, and exchanges, in countless enforcement actions,10 multiple speeches,11

Congressional testimony,12 and several official SEC statements13 and proclamations.14 The former

SEC Chairman, Gary Gensler, has spoken frequently about the perils and illegality of crypto

lending platforms and decentralized finance,15 warning that their failure to register with the SEC

may violate U.S. securities laws. In one interview, Chair Gensler said:

       The law is clear, it’s not about waving a wand. Congress spoke about this in 1934
       … When a [digital] platform has securities on it, it is an exchange, and it’s a


8
  Id.
9
  https://web.archive.org/web/20241121144150/https://www.sec.gov/about/divisions-
offices/division-corporation-finance/framework-investment-contract-analysis-digital-assets.
10
   https://web.archive.org/web/20241121144249/https://www.sec.gov/securities-topics/crypto-
assets.
11
   https://web.archive.org/web/20241121144340/https://www.sec.gov/newsroom/speeches-
statements/gensler-aspen-security-forum-2021-08-03.
12
   https://web.archive.org/web/20241121144436/https://www.sec.gov/newsroom/speeches-
statements/gensler-2021-05-26.
13
   https://web.archive.org/web/20241121144700/https://www.sec.gov/newsroom/speeches-
statements/statement-clayton-2017-12-11.
14
   https://web.archive.org/web/20241121144729/https://www.sec.gov/newsroom/speeches-
statements/enforcement-tm-statement-potentially-unlawful-online-platforms-trading-digital-
assets.
15
   https://web.archive.org/web/20230327041638/https://www.theblock.co/post/113416/gensler-
speech-crypto-defi-lending-sec.

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        question of whether they’re registered or they’re operating outside of the law and
        I’ll leave it at that.16

        45.     On September 8, 2022, Chair Gensler gave a speech reflecting on the flexibility of

the securities laws and the SEC’s consistency in applying these laws to cryptocurrency. 17 Chair

Gensler noted that of the 10,000 different cryptocurrencies in the market, “the vast majority are

securities,” a position that was also held by his predecessor, Jay Clayton.18 Chair Gensler went on

to note that the SEC has spoken with a “pretty clear voice” when it comes to cryptocurrency

“through the DAO Report, the Munchee Order, and dozens of Enforcement actions, all voted on

by the Commission” and that “[n]ot liking the message isn’t the same thing as not receiving it.”19

        46.     Importantly, the judicial record supports Chair Gensler’s assertions. The SEC has

taken over 100 successful crypto-related enforcement actions.20

        47.     While the view of the SEC – traditionally the expert agency in the area of securities

regulation – can be persuasive, there are other times when it is not. For instance, the Staff Statement

on Meme Coins that the SEC Division of Corporation Finance published on February 27, 2025,

while somewhat cursory, does not appear to be consistent with how district courts in New York

and elsewhere have applied the Howey tests to crypto assets. Ultimately, the decision whether any

asset (including crypto asset) satisfies the Howey test is, of course, a judicial one. It is a decision a

court must make.

        48.     What follows are brief examples and summaries of cases that will help inform this




16
   Id.
17
   https://web.archive.org/web/20241121145059/https://www.sec.gov/newsroom/speeches-
statements/gensler-sec-speaks-090822#_ftnref3.
18
   Id.
19
   Id.
20
   https://web.archive.org/web/20241003051605/https://www.cornerstone.com/wp-
content/uploads/2023/01/SEC-Cryptocurrency-Enforcement-2021-Update.pdf.

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litigation.

U.S. Sec. & Exch. Comm’n v. KIK

        49.    In U.S. Sec. & Exch. Comm'n v. Kik Interactive Inc.21, the SEC’s complaint, filed

in the Southern District of New York on June 4, 2019, alleged that Kik sold digital asset securities

to U.S. investors without registering their offer and sale as required by the U.S. securities laws.

1:19-CV-05244 (S.D.N.Y), Dkt. No. 1. Kik argued, among other things, that the SEC’s lawsuit

against it should be considered “void for vagueness.”22 See U.S. Sec. & Exch. Comm'n v. Kik

Interactive Inc., 492 F. Supp. 3d 169, 176 (S.D.N.Y. 2020).

        50.    The court granted the SEC’s motion for summary judgment on September 30, 2020,

finding that undisputed facts established that Kik’s sales of “Kin” tokens were sales of investment

contracts, therefore of securities, and that Kik violated the federal securities laws when it

conducted an unregistered offering of securities that did not qualify for any exemption from

registration requirements. Id. The court further found that Kik’s private and public token sales

were a single integrated offering. Id. at 181-82.

SEC v. Telegram

        51.    In U.S. Sec. & Exch. Comm'n v. Telegram Group Inc., et al.,23 the SEC filed a

complaint on October 11, 2019, alleging that the company had raised capital to finance its business

by selling approximately 2.9 billion “Grams” to 171 initial purchasers worldwide. 1:19-cv-9439

(S.D.N.Y), Dkt. No. 1. The SEC sought to enjoin Telegram from delivering the Grams it sold,


21
   https://web.archive.org/web/20241121145332/https://www.sec.gov/newsroom/press-
releases/2020-262.
22

https://web.archive.org/web/20241121145524/https://www.financemagnates.com/cryptocurrency
/news/sec-seeks-to-block-kik-subpoenas-refutes-void-for-vagueness-claim/.
23
   https://web.archive.org/web/20241121150530/https://www.sec.gov/newsroom/press-
releases/2020-146.

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which the SEC alleged were securities that had been offered and sold in violation of the registration

requirements of the federal securities laws. Id.

       52.     On March 24, 2020, the court in the Southern District of New York issued a

preliminary injunction barring the delivery of Grams and finding that the SEC had shown a

substantial likelihood of proving that Telegram’s sales were part of a larger scheme to distribute

the Grams to the secondary public market unlawfully. Id. Dkt. No. 227.

       53.     In applying the Howey test to the tokens at issue, the court noted that “[d]isclaimers,

if contrary to the apparent economic reality of a transaction, []are not dispositive.” Id. Dkt. No.

227 at 14 (citing S.E.C. v. SG Ltd., 265 F.3d 42, 48, 54 (1st Cir. 2001) (finding investment contract

despite promoter’s language cautioning investors that the virtual shares were only intended as part

of a video game)).

       54.     Without admitting or denying the allegations in the SEC’s complaint, the

defendants consented to the entry of a final judgment enjoining them from violating the registration

provisions of Sections 5(a) and 5(c) of the Securities Act of 1933. Id. Dkt. No. 242. The judgment

ordered the defendants to disgorge, on a joint and several basis, $1,224,000,000 in ill-gotten gains

from the sale of Grams, with credit for the amounts Telegram pays back to initial purchasers of

Grams. Id. It also ordered Telegram to pay a civil penalty of $18,500,000. Id. For the next three

years, Telegram was further required to give notice to the SEC staff before participating in the

issuance of any digital assets. Id.

U.S. Sec. & Exch. Comm’n v. BlockFi

       55.     In BlockFi Lending LLC,24 the first SEC case involving a crypto-lending program,




24
   https://web.archive.org/web/20241121150850/https://www.sec.gov/newsroom/press-
releases/2022-26.

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on February 22, 2022, the SEC charged BlockFi with failing to register the offers and sales of its

retail crypto-lending product and also charged BlockFi with violating the registration provisions

of the Investment Company Act of 1940.25

        56.     BlockFi argued for “increased regulatory clarity” but lost.26

        57.     To settle the SEC’s charges, BlockFi agreed to pay a $50 million penalty, cease its

unregistered offers and sales of the lending product, BlockFi Interest Accounts (BIAs), and bring

its business within the provisions of the Investment Company Act within 60 days.27 BlockFi’s

parent company also announced that it intends to register under the Securities Act of 1933 the offer

and sale of a new lending product. In parallel actions, BlockFi agreed to pay an additional $50

million in fines to 32 states to settle similar charges.28

U.S. Sec. & Exch. Comm’n v. TerraForm Labs Pte. Ltd.

        58.     In U.S. Sec. & Exch. Comm’n v. Terraform Labs PTE, Ltd. and Do Hyeong Kwon,

on July 31, 2023, Judge Jed Rakoff of the Southern District of New York entered an order denying

a motion to dismiss claims that defendants, a crypto-assets company and its founder, were

responsible for a multibillion-dollar fraud that involved the development, marketing, offer and sale

of crypto-assets that the SEC alleged were unregistered securities. 684 F. Supp. 3d 170.

        59.     Judge Rakoff explicitly rejected a key component of his colleague, Judge Analisa

Torres’ reasoning in her order on cross-motions for summary judgment in U.S. Sec. & Exch.

Comm'n v. Ripple Labs, Inc., et al., No. 1:20-cv-10832, Dkt. No. 874 (S.D.N.Y. July 13, 2023),




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   Id.
26
   https://web.archive.org/web/20220214161936/https://blockfi.com/pioneering-regulatory-
clarity.
27
   https://web.archive.org/web/20241121150850/https://www.sec.gov/newsroom/press-
releases/2022-26.
28
   Id.

                                                  14
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which drew a distinction between crypto assets sold directly by the issuer or on the secondary

market. 684 F. Supp. 3d at 197-98.

        60.     Judge Rakoff is a highly regarded jurist who is considered an expert in securities

law and business law. In fact, Todd Baker, an attorney and Senior Fellow at the Richman Center

for Business, Law & Public Policy at Columbia Business and Law Schools called Judge Rakoff,

in a Financial Times article, the “most respected securities authority in the federal judiciary.”29

        61.     Judge Rakoff also explicitly rejected a key element of Judge Torres’ analysis in the

Ripple decision, stating:

        It may also be mentioned that the Court declines to draw a distinction between these
        coins based on their manner of sale, such that coins sold directly to institutional
        investors are considered securities and those sold through secondary market
        transactions to retail investors are not. In doing so, the Court rejects the approach
        recently adopted by another judge of this District in a similar case, SEC v. Ripple
        Labs Inc., 2023 WL 4507900 (S.D.N.Y. July 13, 2023).

684 F. Supp. 3d at 197.

        62.     Judge Rakoff went on to explain that Howey and its progeny never made such a

distinction, nor does it matter, for purposes of Howey analysis, whether a purchaser “bought the

coins directly from the defendants or, instead, in a secondary resale transaction.” Id.

        63.     The jury later found defendants liable for securities fraud relating to the tokens at

issue in that case.

U.S. Sec. & Exch. Comm’n v. Coinbase

        64.     In U.S. Sec. & Exch. Comm’n v. Coinbase, Inc.,30 on June 6, 2023 the SEC charged

Coinbase with “operating its crypto asset trading platform as an unregistered national securities


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   https://web.archive.org/web/20241121150949/https://www.ft.com/content/5e5a3c4a-7508-
4db8-ab23-1ff17c87c880.
30
   https://web.archive.org/web/20241121151112/https://www.sec.gov/newsroom/press-
releases/2023-102.

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exchange, broker, and clearing agency” and “failing to register the offer and sale of its crypto asset

staking-as-a-service program.” See 1:23-CV-04738 (S.D.N.Y.), Dkt. No. 1.

       65.     Judge Katherine Polk Failla of the Southern District of New York denied the

Coinbase defendants’ motion for judgment on the pleadings with respect to all but one claim,

finding “the SEC has sufficiently pleaded that Coinbase operates as an exchange, as a broker, and

as a clearing agency under the federal securities laws, and, through its Staking Program, engages

in the unregistered offer and sale of securities.” U.S. Sec. & Exch. Comm'n v. Coinbase, Inc., No.

23 CIV. 4738 (KPF), 2024 WL 1304037, at *35 (S.D.N.Y. Mar. 27, 2024).31

       66.     Judge Failla also found that the SEC had pleaded “control person liability” for

Coinbase Global. Id.

       67.     While the SEC has apparently exercised its discretion and agreed to drop the case

“as a policy matter,” see SEC v. Coinbase, 23-cv-04738-KPF, Dkt. No. 178 (S.D.N.Y. Feb. 28,

2025) the move is highly unusual and likely to be viewed with suspect, given that a court has

already denied defendants’ motion to dismiss the action based on the federal securities laws.

U.S. Sec. & Exch. Comm’n v. Payward Ventures, Inc. (Kraken)

       68.     In U.S. Sec. & Exch. Comm’n v. Payward, Inc., on November 20, 2023 the SEC

filed a complaint charging “Payward Inc. and Payward Ventures Inc., together known as Kraken,

with operating Kraken’s crypto trading platform as an unregistered securities exchange, broker,

dealer, and clearing agency.”32

       69.     In a recent order by Judge William H. Orrick of the Northern District of California




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   The court only granted the motion as to the SEC’s claim that Coinbase acted as an
unregistered broker through its “Coinbase Wallet” service. 2024 WL 1304037, at *33.
32
   https://web.archive.org/web/20241122153934/https://www.sec.gov/enforcement-
litigation/litigation-releases/lr-25896.

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denying Kraken’s motion to dismiss the SEC’s Complaint, Judge Orrick found that the SEC

plausibly alleged Kraken offered or sold crypto assets on Kraken as investment contracts, which

were therefore plausibly alleged to be unregistered securities. U.S. Sec. & Exch. Comm'n v.

Payward, Inc., No. 23-CV-06003-WHO, 2024 WL 4511499 (N.D. Cal. Aug. 23, 2024), motion to

certify appeal denied sub nom. SECURITIES AND EXCHANGE COMMISSION, Plaintiff, v.

PAYWARD, INC., et al., Defendants. Additional Party Names: Kraken, No. 23-CV-06003-WHO,

2024 WL 4819259 (N.D. Cal. Nov. 18, 2024).

       70.     In doing so, the court rejected, as numerous other courts have, Kraken’s argument

that an investment contract requires a “formal contract” or “post-sale obligations” from the issuer

to the purchaser who bought the token on a secondary marketplace, like Kraken. Id. at *8.

       71.     The court was clear that investment contracts are not limited to formal contracts

and that the Howey test applies regardless of whether that transaction is on a primary or secondary

market. Id. at *8-*18.

       72.     Further, the court found the SEC to have plausibly alleged vertical commonality,

and thus common enterprise, because the promoters of some crypto assets on Kraken allegedly

retain ownership or control over billions of the tokens they promote. Id. at *14-16.

Donovan v. GMO-Z.COM Trust Company, Inc.

       73.     In Donovan v. GMO-Z.COM Trust Company, Inc., plaintiffs alleged that a digital

asset known as a stablecoin constituted an unregistered security. See 23-cv-08431-AT (S.D.N.Y).

       74.     On February 17, 2025, the court held that plaintiffs had stated a claim under New

York’s General Business Law ¶349 and California’s Unfair Competition Law (UCL), the same

claims brought here. In particular, the court found that plaintiffs had alleged deceptive acts and

practices and false advertising under New York and California state law, even while the court



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dismissed the federal law claims. Donovan v. GMO-Z.COM Trust Company, Inc., 23-cv-08431-

AT, Dkt. No. 121 (S.D.N.Y Feb. 17, 2025).

                     Relevant Law Regarding Non-Fungible Tokens or NFTs

       75.     A non-fungible token is “a unique digital item stored on a blockchain. NFTs can

represent almost anything, and serve as a digital record of ownership.”

       76.     The relevant caselaw finding crypto assets to be unregistered securities extends to

NFTs as well, as briefly discussed below.

U.S. Sec. & Exch. Comm’n v. Stoner Cats 2 LLC

       77.     In Stoner Cats,33 the SEC issued an order instituting cease-and-desist proceedings

and making findings, and imposing a cease-and-desist order34 on September 13, 2023 and

eventually settled with Stoner Cats 2 LLC for conducting an unregistered offering of securities in

the form of NFTs called Stoner Cats. In the press release announcing the charges against Stoner

Cats 2 LLC (SC2), Gurbir S. Grewal, former Director of the SEC’s Division of Enforcement,

stated: “Regardless of whether your offering involves beavers, chinchillas or animal-based NFTs,

under the federal securities laws, it’s the economic reality of the offering – not the labels you put

on it or the underlying objects – that guides the determination of what’s an investment contract

and therefore a security.”35

       78.     In the order, the SEC highlighted several aspects of the Stoner Cats offering that

revealed that, applying the Howey test, “[I]nvestors in Stoner Cats NFTs had a reasonable


33
   https://web.archive.org/web/20241121151708/https://www.sec.gov/newsroom/press-
releases/2023-178.
34

https://web.archive.org/web/20240904043245/https://www.sec.gov/files/litigation/admin/2023/3
3-11233.pdf.
35
   https://web.archive.org/web/20241121151708/https://www.sec.gov/newsroom/press-
releases/2023-178.

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expectation of obtaining a profit based on SC2’s [the issuer] managerial and entrepreneurial

efforts.”36

        79.    First, there was a secondary market for Stoner Cats holders to trade and profit off

of their NFTs. “In addition, at least 20% of the Stoner Cats NFTs purchased in the offering were

resold in the secondary market before the first episode of the Stoner Cats series aired, two days

after the offering, and the majority of the NFTs purchased in the offering were resold in the

secondary market before the release of the second episode on November 15, 2021.”37

        80.    Second, Stoner Cat NFT “owners” did not actually control the intellectual property

associated with Stoner Cats.38 “While purchasers may ‘own’ their particular Stoner Cats NFT, SC2

specifically reserved all commercial rights to the underlying intellectual property, including the

images of the characters. SC2 hired a contractor to write computer code that produced these unique

images from animations created by the primary animator.”39

        81.    Third, secondary market re-sales of Stoner Cats generated royalties for Stoner Cats

2 LLC. The SEC alleged that “SC2 configured the Stoner Cats NFTs so that it received a 2.5%

royalty for each transaction in them on a certain secondary market platform. The royalties created

incentives for SC2 to encourage individuals to buy and sell the Stoner Cats NFTs in the secondary

market.”40 As well as that “[p]rior to the offering, one of the programmers working for SC2

contacted a platform for trading NFTs to ‘verify’ the Stoner Cats NFT collection. Doing so ensured

that SC2 would receive royalties from resale transactions and, importantly, assured purchasers in


36

https://web.archive.org/web/20240904043245/https://www.sec.gov/files/litigation/admin/2023/3
3-11233.pdf.
37
   Id.
38
   Id.
39
   Id.
40
   Id.

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the secondary market that they were buying authentic Stoner Cats NFTs. This facilitated secondary

market transactions in Stoner Cats NFTs.”41

U.S. Sec. & Exch. Comm'n v. Impact Theory

       82.     In Impact Theory,42 the SEC issued an order instituting cease-and-desist

proceedings and making findings, and imposing a cease-and-desist order43 on August 28, 2023,

where the SEC charged, and subsequently settled with, Impact Theory, for conducting an

unregistered offering of securities in the form of NFTs. The SEC alleged that the three tiers of

NFTs offered and sold by the company, known as KeyNFTs, were unregistered investment

contracts, per Howey. Therefore, the SEC alleged that “purchasers in the KeyNFT offering had a

reasonable expectation of obtaining a future profit based on Impact Theory’s managerial and

entrepreneurial efforts.”44

       83.     Among other factors, the SEC noted that investors could realize their profit from

selling their NFTs on the secondary market. KeyNFTs could be traded on secondary trading

platforms and the company promoted this fact. “Impact Theory stated on its websites and social

media channels that KeyNFTs could be purchased and sold on two such secondary market

platforms. Impact Theory programmed the smart contract for the KeyNFTs so that the company

received a 10% ‘royalty’ on each secondary market sale.”45

Dufoe v. DraftKings, Inc.




41
   Id.
42
   https://web.archive.org/web/20241121152314/https://www.sec.gov/newsroom/press-
releases/2023-163.
43

https://web.archive.org/web/20241001101957/https://www.sec.gov/files/litigation/admin/2023/3
3-11226.pdf.
44
   Id.
45
   Id.

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       84.     In Dufoe v. Draftkings, Inc et al., a proposed class action currently proceeding in

the District of Massachusetts, the plaintiff alleged that DraftKings violated federal securities law

by selling unregistered securities in the form of NFTs on the DraftKings Marketplace. 23-CV-

10524-DJC (D. Mass.).

       85.     On July 2, 2024, Judge Denise J. Casper denied defendants’ motion to dismiss.

Judge Casper found that the plaintiff had “plausibly pled that DraftKings NFTs were investment

contracts, and thus securities within the meaning of the Securities Act and Exchange Act.” Dufoe

v. DraftKings Inc., 23-CV-10524-DJC, 2024 WL 3278637, at *10 (D. Mass. July 2, 2024.

       86.     Judge Casper found that plaintiff had sufficiently alleged horizontal commonality,

therefore satisfying the common enterprise prong of Howey, because pooling occurred when the

“revenue generated by the sale of NFTs was reinvested into DraftKings’ business, including

through promotion of the Marketplace.” Id. at *4-6.

       87.     In this way, Judge Casper followed the holding in Friel v. Dapper Labs, Inc., 657

F. Supp. 3d 422 (S.D.N.Y. 2023), a similar case that also found the NFTs at issue to constitute

securities under the Howey test.

       88.     Next, the court in DraftKings found that plaintiff had plausibly alleged the

reasonable expectation of profits from his NFT purchase through the theory of capital appreciation

in that “the value of existing NFTs is driven upwards if DraftKings maintains investor interest and

demand in the Marketplace.” Id. at *7-9.

       89.     Finally, the court found that plaintiff had plausibly alleged that the profits were

expected solely from the efforts of others because the NFTs values were dependent on the success

of the DraftKings Marketplace, even though the NFTs were not minted on DraftKing’s proprietary

blockchain. Id. at *9-10.



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Harper v. O’Neal

       90.     In Harper v. O’Neal, the plaintiff filed a class action suit in the Southern District

of Florida, against Shaquille O’Neal, Astrals LLC, Astrals Holding, LLC, and Astrals Operations

LLC for their promotion, offer, and sale of unregistered securities in the form of Astrals NFTs and

Galaxy tokens created by the Astrals project. 1:23-cv-21912 (S.D. Fla.).

       91.     On August 16, 2024, Judge Federico A. Moreno denied defendants’ motion to

dismiss claims that the Astrals NFTs constituted securities under the Howey test and applicable

securities law and that Defendant O’Neal was a statutory seller engaged in the solicitation of sales

of those unregistered securities. Harper v. O'Neal, 23-21912-CIV, 2024 WL 3845444 (S.D. Fla.

Aug. 16, 2024).

                           RELEVANT FACTUAL ALLEGATIONS

Nike Purchases RTFKT in an Attempt to Capitalize on the Red Hot Market for Crypto

       92.     On December 13, 2021, Nike announced that it was purchasing the NFT company

RTFKT (pronounced “artifact”).

       93.     While the terms of the deal were not disclosed, RTFKT had raised an $8 million

seed round, led by capital market company Andreessen Horowitz that had valued the company at

$33.3 million, earlier in the year.

       94.     In its press release, Nike touted RTFKT as “a pioneering and innovative brand that

redefines the boundaries of physical and digital value[.]”

       95.     Nike’s President and CEO, John Donahoe, stated: “This acquisition is another step

that accelerates Nike’s digital transformation and allows us to serve athletes and creators at the

intersection of sport, creativity, gaming and culture. We’re acquiring a very talented team of

creators with an authentic and connected brand. Our plan is to invest in the RTFKT brand, serve



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and grow their innovative and creative community and extend Nike’s digital footprint and

capabilities.”

        96.      In addition, RTFKT co-founder, Benoit Pagotto, commented: “This is a unique

opportunity to build the RTFKT brand and we are excited to benefit from Nike’s foundational

strength and expertise to build the communities we love.”

Nike Made Money on Both the Initial Sales and Secondary Sales of the Nike NFTs, Giving Nike
Incentive to use its Iconic Brand and Marketing Prowess to Prop Up the Market for Nike NFTs


        97.      Investors could buy Nike NFTs directly from RTFKT on crypto platforms such as

the popular NFT marketplace, OpenSea.

        98.      Once the investor bought the Nike NFT, the Nike NFT was instantaneously liquid

and could be resold with only a few click strokes, potentially at a profit, on the secondary

marketplace.

        99.      When the Nike NFTs traded hands in the secondary marketplace, peer-to-peer, Nike

and RTFKT profited on each secondary transaction. RTFKT would take a transaction fee, also

known as a transfer fee, of either 5% or 10% of the secondary sale price, depending on the NFT,

and remit some portion of that to Nike.

        100.     Thus, when prices of the Nike NFTs trading on the secondary market increased, the

fees that Nike received increased as well. These fees incentivized Nike to encourage individuals

to trade actively on the secondary market, in which Nike targeted its promotions and other

initiatives aimed at stimulating and maintaining demand for the Nike NFTs.

For a Time, Investors Pile into the Nike NFTs and Sales and Prices in the Secondary Market Soar

        101.     Just like the market for all things crypto in late 2021 and early 2022, the early results

were impressive and investors were seeing dollar signs.



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       102.    April 2022 marked the first drop of the so-called “Nike Cryptokicks,” with 20,000

NFTs of Nike’s Dunk Genesis shoes hitting the market.

       103.    These “Nike Cryptokicks” traded immediately for thousands of dollars on the NFT

platform OpenSea, with some even changing hands for six-figure sums.

       104.    Eager to ride the crypto wave and driven by the established appeal of the Nike

brand, investors piled into Nike NFTs, which were often emblazoned with the iconic Nike swoosh.

       105.    By 2023, Nike had already raked in tens of millions of dollars in revenue from the

Nike NFTs, exploiting the legendary status of the Nike brand and its iconic Swoosh. Secondary

trading of the Nike NFTs is believed to have surpassed $1 billion.

       106.    Nike carefully limited the market supply of Nike NFTs to build hype, manufacture

scarcity and to encourage active secondary trading of the crypto assets. Nike would also spread

out drops of the Nike NFTs, and its promotions tied to the Nike NFTs, throughout the year to keep

demand high and investors trained on the secondary marketplace.

       107.    In addition, Nike would offer special rewards to investors for completing special

challenges or quests, in a further attempt to maintain the interest and price level in the marketplace

for Nike NFTs.

       108.    Time and time again, the marketplace responded to promotional initiatives by Nike,

illustrating that it was the actions of Nike that drove the price of the Nike NFTs.

       109.    For instance, Nike would set “forgings,” which were special time windows in which

owners of certain Nike NFTs were eligible to order exclusive, limited edition, physical Nike shoes.

When Nike held a forging in October of 2023, it caused the price of the relevant Nike NFTs to

spike by over 600% month-over-month.

The Rug is Pulled Out From Under the Nike NFTs, Decimating Investors



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         110.   On December 2, 2024, RTFKT abruptly announced that it was closing down by

releasing a tweet from its official twitter account. The tweet stated, inter alia: “Today, we’re

announcing the plan to wind down RTFKT operations… While we expect our web3 services will

be winding down by the end of January 2025, the spirit of innovation that RTFKT represents will

live on through the countless creators and projects it has inspired.”

         111.   Following the announcement, the price of the Nike NFTs plummeted, and has not

recovered.

         112.   NFT investors were shocked and sustained immediate losses in their Nike NFTs.

For instance, one crypto news source ran an article entitled, What Happened to RTFKT? Investors

Demand Accountability, writing: “RTFKT has officially announced its shutdown, leaving the NFT

community in turmoil. This domino effect also raised concerns about the fate of flagship projects

like Clone X and INVTRY. Investors are now grappling with significant financial losses, while

speculations swirl about Nike’s reasoning and financial decisions. Here’s what happened…”

https://cryptoticker.io/en/nike-ends-rtfkt-investors-left-speechless/.

         113.   The tweet announcing RTFKT’s closure has been viewed over 3 million times and

elicited over 1,000 comments, with many commenters bemoaning what they view as a brazen “rug

pull.”

         114.   In the crypto world, a “rug pull” is when promoters abruptly abandon a project after

raising assets, leaving investors holding the bag.

         115.   As Coinbase explains in an article entitled: What is a rug pull and how to avoid it?,

posted in the “tips and tutorials” section of its website: “A rug pull is a scenario in

the cryptocurrency space. It involves a team raising assets from the public by selling a token, only

to abruptly shut down the project or disappear, taking the raised assets with them. This leaves the



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participants, or rather, their victims, with worthless tokens.”

          116.    The article continues: “Rug pulls can be extensively orchestrated, with bad actors

leveraging various strategies to lure as many victims as possible. Some scams even use trusted

figures to gain trust, while others promise extremely high returns or offer exclusive digital goods.”

          117.    Listing the common types of rug pulls, the articles lists: “Team Exit: The project’s

team members suddenly disappear or exit, leaving participants with no support and a collapsing

token.”

          118.    The article ends with a section entitled “Notable Rug Pulls in History,” stating:

“While rug pulls have always been a spectacle in the industry, some scams have left a significant

mark. Some of the biggest rug pulls in history include OneCoin, Thodex, AnubisDAO, Uranium

Finance, and Squid Game Token. These scams resulted in billions of dollars in losses for

participants.”

          119.    To quote just some of the outraged responses directed at Nike’s rug pool, many of

which appear to have been written by dismayed investors holding Nike NFTs as prices plummeted,

one twitter user commented that the post was “[a] lot of words to say ‘we’re rugging.’”

https://x.com/zaimirii/status/1863622427214741609.

          120.    Another         twitter       user          commented:          “RUG       COMPLETE.”

https://x.com/NFTherder/status/1863698266530955585.

          121.    Another opined that it was “the final blow to the slowest nft rug in crypto history,

to   which       another     wrote:    “they   are     bull    posting   about    rugging   the     project…”

https://x.com/WillieBezos/status/1863622262206947462.

          122.    Another wrote: “Can’t believe we got a Nike rug before GTA6,” apparently

referring        to    the      long-awaited         release      of     a       popular    video      game.



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https://x.com/MatDefies/status/1863623046432506216.

       123.        Another            wrote:            “did            I         get          rugged?”

https://x.com/LiteFlex0x/status/1863622167704846421.

       124.        Another wrote: “A rug.” https://x.com/blessed2541/status/1863622413822410770.

       125.        Another wrote: “@Nike rugged us,” to which another user wrote: “Just when we

thought       it      was      only      14-year        olds     that       rug    crypto      projects.”

https://x.com/mebigfish/status/1863622678935978128.

       126.        Another                              wrote:                              “ruggggged.”

https://x.com/kopi_eth_/status/1863621928365535352.

       127.        Another wrote: “Nice rug,” with an animation of someone slapping a carpet.

https://x.com/T3rran_eth/status/1863625689292808416.

       128.        Another decried the fact that now the investors are left “holding the bag.”

https://x.com/thetruth4225/status/1863622825153900826.

       129.        Another wrote: “BIGGEST SOFT RUG IN THE INDUSTRY,” to which another

user wrote: “[t]hat didn’t feel soft.” https://x.com/PendingETH/status/1863629618063773718.

       130.        The distinction between a hard and soft rug pull is a known one in the

cryptocurrency community. A hard rug pull is when a crypto promoter has no intention to ever

complete a project, and can be said to effectively “hardwire” into the project’s code a backdoor

for the promoter to siphon the investors’ assets. In contrast, in a soft rug, investors buy a token

relying on the promoter’s marketing efforts to grow the project’s value, but the promoter shuts it

down and makes off with the investors’ money.

       131.        Another wrote: “Understanding NFTs well, the timing of launching a collection

when you see a bull market returning, and then exiting is a total RUG. Do people need it spelled



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out any clearer? Is the market ever going to wake up to this and call it out?”

https://x.com/huuep/status/1863644320508887551.

       132.    Another           wrote:          “Rug           pull          you           mean?”

https://x.com/uponlyy/status/1863622677879267612.

       133.    Another wrote: “They drop a blade on you before they pull the plug, gotta stay

classy.” https://x.com/whatstheticker/status/1863630138442739744.

       134.    Another            wrote:             “Nice         3           year           rug.”

https://x.com/OttoSuwenNFT/status/1863631849093992612.

       135.    Another wrote: “Thank you for everything, I will never buy NIKE shoes again in

my life.” https://x.com/SPELL_WEB3/status/1863624486207078620.

       136.    And that was just a small fraction of the comments on the first day of the

announcement.

       137.    As all of the above comments make plain, that everyone knew the value of the Nike

NFTs would plummet – and did plummet – as soon as Nike stopped supporting the project and

propping up the market for Nike NFTs by offering new drops, challenges and rewards – highlights

the fact that it was the continuing managerial efforts of Nike that drove the prices of these NFTs.

Accordingly, the Nike NFTs are securities under the Howey test.

                  THE NIKE NFTS ARE UNREGISTERED SECURITIES

       138.    Under the Howey Test, an investment contract is a security under United States

securities laws when (1) the purchaser makes an investment of money or exchanges another item

of value (2) in a common enterprise (3) with the reasonable expectation of profits (4) to be derived

from the efforts of others.

       139.    Applying the Howey Test to The Nike NFTs reveals that they qualify as securities:



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       1. Investment of Money

       140.    As the SEC states in its Digital Asset Framework (the “Framework”)46: “The first

prong of the Howey test is typically satisfied in an offer and sale of a digital asset because the

digital asset is purchased or otherwise acquired in exchange for value, whether in the form of

traditional (or fiat) currency, another digital asset, or other type of consideration.”

       141.    Investors purchasing Nike NFTs made an investment of money or other valuable

consideration for the purposes of the Howey Test.

       2. Common Enterprise

       142.    The SEC Framework states: “In evaluating digital assets, we have found that a

‘common enterprise’ typically exists.” This is “because the fortunes of digital asset purchasers

have been linked to each other or to the success of the promoter’s efforts.”

       143.    This is true of The Nike NFTs investors. Investors who bought these NFTs are

passive participants in the enterprise, with the profits of each investor intertwined with the fate of

the project. The fortunes of The Nike NFTs investors, and the value of The Nike NFTs, are linked

almost entirely to the success of Nike’s promotional efforts designed to reward NFT holders and

further incentivize NFT ownership. Accordingly, when investors purchase The Nike NFTs, they

participate in a common enterprise.

       3. Expectation of Profit

       144.    In terms of “reasonable expectations of profits,” the SEC Framework states: “A

purchaser may expect to realize a return through participating in distributions or through other

methods of realizing appreciation on the asset, such as selling at a gain in a secondary market.”47


46
   https://web.archive.org/web/20241121144150/https://www.sec.gov/about/divisions-
offices/division-corporation-finance/framework-investment-contract-analysis-digital-assets.
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   Id.

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           145.    In particular, the SEC’s Framework identifies several factors to help assess whether

the “reasonable expectation of profits” element is met:

           The more the following characteristics are present, the more likely it is that there is
           a reasonable expectation of profit.
           1. The digital asset gives the holder rights to share in the enterprise’s income or
           profits or to realize gain from capital appreciation of the digital asset.
                   a. The opportunity may result from appreciation in the value of the digital
                   asset that comes, at least in part, from the operation, promotion,
                   improvement, or other positive developments in the network, particularly if
                   there is a secondary trading market that enables digital asset holders to resell
                   their digital assets and realize gains.
                   b. This also can be the case where the digital asset gives the holder rights to
                   dividends or distributions.
           2. The digital asset is transferable or traded on or through a secondary market or
           platform, or is expected to be in the future.
           3. Purchasers reasonably would expect that an AP’s [Active Participant, or
           promoter] efforts will result in capital appreciation of the digital asset and therefore
           be able to earn a return on their purchase.
           4. The digital asset is offered broadly to potential purchasers as compared to being
           targeted to expected users of the goods or services or those who have a need for the
           functionality of the network.48

           146.    Investors in The Nike NFTs were expecting to profit through the appreciation of

their digital assets that could be sold and traded on the secondary market, resulting in an increased

return on their purchase. Alternatively, an expectation that the Nike NFTs will entitle the holder

to accomplish a quest or participate in a limited edition forge, which will in turn entitle them to

valuable consideration, can also constitute an expectation of profit under Howey as well.

           4. Derived from the Efforts of Others

           147.    The SEC Framework provides that:

           The inquiry into whether a purchaser is relying on the efforts of others focuses on
           two key issues: Does the purchaser reasonably expect to rely on the efforts of an
           [Active Participant]? Are those efforts ‘the undeniably significant ones, those
           essential managerial efforts which affect the failure or success of the enterprise,’ as
           opposed to efforts that are more ministerial in nature?
           Although no one of the following characteristics is necessarily determinative, the

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     Id.

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           stronger their presence, the more likely it is that a purchaser of a digital asset is
           relying on the “efforts of others”:
           1. An AP is responsible for the development, improvement (or enhancement),
           operation, or promotion of the network, particularly if purchasers of the digital asset
           expect an AP to be performing or overseeing tasks that are necessary for the
           network or digital asset to achieve or retain its intended purpose or functionality.
                   a. Where the network or the digital asset is still in development and the
                   network or digital asset is not fully functional at the time of the offer or sale,
                   purchasers would reasonably expect an AP to further develop the
                   functionality of the network or digital asset (directly or indirectly). This
                   particularly would be the case where an AP promises further developmental
                   efforts in order for the digital asset to attain or grow in value.
           2. There are essential tasks or responsibilities performed and expected to be
           performed by an AP, rather than an unaffiliated, dispersed community of network
           users (commonly known as a “decentralized” network).
           3. An AP creates or supports a market for, or the price of, the digital asset. This can
           include, for example, an AP that:
                   (1) controls the creation and issuance of the digital asset; or
                   (2) takes other actions to support a market price of the digital asset, such as
                   by limiting supply or ensuring scarcity, through, for example, buybacks,
                   “burning,” or other activities.
           4. An AP has a lead or central role in the direction of the ongoing development of
           the network or the digital asset. In particular, an AP plays a lead or central role in
           deciding governance issues, code updates, or how third parties participate in the
           validation of transactions that occur with respect to the digital asset.
           An AP has a continuing managerial role in making decisions about or exercising
           judgment concerning the network …49

           148.    Purchasers of The Nike NFTs are entirely reliant on the managerial efforts of others

for their potential profits. Indeed, The Nike NFTs’ ability to maintain value depends significantly

on Nike’s reputation and promotional activities, leading the marketing efforts for the Nike NFTs

and ensuring that people remain incentivized to buy, hold and trade them.

           149.    This is due to the centralized nature of this arrangement: it is Nike that controls the

rewards, perks and therefore the desirability of owning the Nike NFTs. This is unlike an investment

in Bitcoin, for example, which is decentralized and run by no specific persons or entity.

           150.    The Nike NFTs were and are therefore “securities” as defined by the securities laws


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     Id.

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and as interpreted by relevant authorities including the Supreme Court, the federal courts, and the

SEC.

            The Class Has Suffered Significant Damages from Defendant’s Actions

        151.    As a direct result of Nike’s conduct promoting and hyping up these unregistered

securities, Plaintiff and the Class – many of whom are retail investors who lack the technical and

financial sophistication necessary to have evaluated the risks associated with their investments in

The Nike NFTs, and were denied the information that would have been contained in the materials

required for the registration of The Nike NFTs – have suffered significant damages in an amount

to be proven at trial.

     EVEN IF THE COURT DOES NOT FIND THAT THE NIKE NFTS ARE
UNREGISTERED SECURITIES, PULLING THE RUG OUT FROM UNDER THE NIKE
                NFTS CONSTITUTES A DECEPTIVE ACT

        152.    The Court need not find that the Nike NFTs are necessarily unregistered securities

to find that the rug pull was a deceptive act.

        153.    As evident from the mass outrage and outpouring of commentary calling the

decision to wind down RTFKT a rug pull, holders of the Nike NFTs felt that the decision left them

holding obsolete crypto assets whose value had suddenly evaporated.

        154.    The economic reality is telling. If the Nike NFTs were truly being bought as digital

collectibles or works of art, this would not be the case. For instance, when an artist dies or

otherwise stops producing art, the artist’s work typically goes up in value. Collectors do not accuse

the artist of pulling the rug out from under them.

        155.    But the way in which Nike propped up the value of the Nike NFTs through targeted,

limited edition drops and promotions and created a gamified ecosystem in which the NFTs could

be used to complete quests and earn prizes including real-life Nike products, is markedly unlike



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the market for collectibles or art.

        156.    As an example, on May 3, 2023, a news article appeared in Yahoo Finance, entitled:

LeBron James Spotted in RTFKT Nike Sneakers—Clone X NFT Holders Rejoice. See

https://finance.yahoo.com/news/lebron-james-spotted-rtfkt-nike-165056384.html.         The    article

explains:

        LeBron James, arguably the most famous basketball star today, was photographed
        wearing special-edition Nike sneakers that can only be purchased by minting
        an Ethereum NFT created by Nike subsidiary, RTFKT.
        …
        The RTFKT x Nike Air Force 1 Genesis is a set of just 1,776 total pairs of sneakers
        in that style that can only be obtained by purchasing an NFT and then redeeming it
        for the physical product. Secondary market prices for the Genesis NFTs start at 0.4
        ETH, or $740 on Opensea. The physical sneakers can only be redeemed until May
        8, per an official FAQ.

        157.    Thus, the reason that the Clone X NFT Holders were rejoicing, to quote the title of

the article, is that the promotional efforts of Nike had just boosted the value of their Nike NFTs.

        158.    That is just one example of how Nike’s promotional activities and limited-time

offers and rewards drove the prices of the Nike NFTs, ensuring growing demand and active trading

on the secondary market. This generated both returns for investors and transfer fees for Nike.

        159.    Another example is the MNLTH collection, which contained some of the most

valuable and highly-prized of the Nike NFTs. MNLTH refers to an NFT depicting a mystery loot

box, emblazoned with the Nike Swoosh.

        160.    The MNLTH loot boxes, which were distributed to holders of certain tokens, could

be unlocked only on certain dates in the future, revealing the contents of the box.

        161.    In some instances, the box contained NFT versions of a vial and a Nike sneaker. If

the MNLTH box contained a certain limited vial, it would give the Nike NFT sneaker special

characteristics, making that Nike NFT much more valuable. In other instances, the MNLTH



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contained a redemption code that could be used to obtain special, real-life Nike sneakers.

       162.    The MNLTH was one form of quest, rewarding holders of Nike NFTs and creating

a gamified scavenger hunt of sorts, spurring trading and boosting the value of the Nike NFTs.

       163.    With the closing of RTFKT, the reason that so many had purchased the Nike NFTs

– to complete Nike’s quests to access additional NFTs or physical Nike products, and/or to resell

the Nike NFTs on the secondary market to others seeking the same – dried up overnight.

       164.    Plaintiff and others would not have purchased the Nike NFTs at the prices they did,

or at all, had they known the rug would be pulled out from under them.

                                    CLASS ALLEGATIONS

       165.    Plaintiff brings this action as a class action on behalf of a class consisting of all

persons who purchased or otherwise acquired The Nike NFTs within applicable limitations periods

and were damaged thereby (the “Class”). Excluded from the Class is the Defendant and any entity

in which the Defendant has or had a controlling interest.

       166.    The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes there are thousands of

members in the proposed Class. Plaintiff believes that Class members may be notified of the

pendency of this action by mail, email, or similar messaging as directed by the Court, using the

form of notice similar to that customarily used in class actions, including being given an

opportunity to exclude themselves from the Class.

       167.    Plaintiff’s claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendant’s wrongful conduct in violation of the

law that is complained of herein.



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        168.    Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

        169.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

        a)      whether Defendant violated the law;

        b)      whether Defendant’s conduct was deceptive;

        c)      whether The Nike NFTs constitute securities under relevant law;

        d)      to what extent the members of the Class have sustained damages and the

        proper measure of damages.

        170.    A class action is superior to all other methods of fair and efficient adjudication of

this controversy since joinder of all members is impracticable. Furthermore, as the damages

suffered by individual Class members may be relatively small, the expense and burden of

individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                                        COUNT I
         For Violations of the New York Deceptive Acts and Practices Unlawful Act
                                 N.Y. Gen. Bus. Law § 349

        171.    Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        172.    Plaintiff invested in The Nike NFTs and has been subjected to Defendant’s scheme

to mislead and deceive the marketplace, and asserts this claim on behalf of the Class. Plaintiff was

deceived by Defendant into believing that The Nike NFTs were not (unregistered) securities and

had value, and accordingly paid a premium for The Nike NFTs.



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       173.    Defendant engaged in deceptive and unfair practices prohibited by, among others,

New York General Business Law § 349; Florida Deceptive and Unfair Trade Practices Act,

Florida Stat. § 501.201; and Oregon Unlawful Trade Practices Act, Or. Rev. Stat. § 646.607; by,

among other things, leading investors to believe that The Nike NFTs are not securities that should

be registered and had value and by promoting them. Defendant took advantage of Plaintiff’s trust

and confidence by hyping up and promoting these Nike NFTs.

       174.    The unfair and deceptive trade acts and practices of Defendant are consumer-

oriented, are materially misleading, and have directly, foreseeably, and proximately caused

damages and injury to Plaintiff and the other members of the Class.

       175.    Much of the of Defendant’s acts and practices at issue in this matter were directed

at and caused harm to New York and New York residents.

       176.    As a direct consequence of Defendant’s unfair conduct and deception, Plaintiff and

members of the Class have been damaged in that they spent money on The Nike NFTs that they

would not have otherwise spent.

       177.    In addition, Plaintiff and members of the Class did not receive a lasting value for

the Nike NFTs that Nike promoted, and are left in an adverse position due to The Nike NFTs

being unregistered with relevant authorities and/or part of an RTFKT marketplace that is now

defunct, rendering The Nike NFTs obsolete. Because of Defendant’s misleading practices in

violation of New York General Business Law § 349, The Nike NFTs are substantially worthless.

       178.    Defendant’s acts and practices amount to acts, uses, or employment by Defendant

of deception and unfair commercial practices, false pretenses, false promises, misrepresentations,

or the knowing concealment, suppression, or omission of material facts with the intent that others




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rely upon such concealment, suppression, or omission, in violation of New York General Business

Law § 349, deeming deceptive and unfair acts and practices illegal.

                                           COUNT II
                     Violations of the California Unfair Competition Law
                            Cal. Bus. & Prof. Code § 17200 et seq.

        179.    Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        180.    Defendant qualifies as a “person” as defined by California Business and

Professions Code section 17201.

        181.    By engaging in the above-described unfair and unlawful business acts and

practices, Defendant committed one or more acts of unlawful or unfair conduct within the

meaning of California Business and Professional Code section 17200 (the “UCL”). These acts

and practices constitute a continuing and ongoing unlawful business activity as defined by the

UCL, and justify the issuance of an injunction, restitution, and other equitable relief pursuant to

the UCL.

        182.    Defendant’s acts and practices alleged herein constitute a continuing and ongoing

unlawful business activity defined by the UCL. Defendant has violated the unlawful prong of the

UCL by deceptively promoting unregistered securities in violation of state and federal law.

        183.    Defendant’s acts and practices alleged herein also constitute a continuing and

ongoing unfair business activity defined by the UCL. Defendant’s conduct is contrary to the public

welfare as it transgresses civil statutes, violates established public policy, including the policies

underlying the statutes and laws identified in the preceding paragraph and has been pursued to

attain an unjustified monetary advantage for Defendant. Accordingly, Defendant’s business




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practices and acts have been immoral, unethical, oppressive, and unscrupulous, and have caused

injury far greater than any alleged countervailing benefit.

        184.     Much of Defendant’s acts and practices at issue in this matter were directed at and

caused harm to California and California residents.

        185.     Absent Defendant’s acts and practices, Plaintiff and members of the Class would

not have purchased the Nike NFTs at the prices paid, or at all.

        186.     As a direct and proximate consequence of the actions identified herein, Plaintiff

and members of the Class have suffered and continue to suffer injury in fact, including but not

limited to, economic loss and loss of property.

        187.     Plaintiff seeks an order of this Court awarding restitution and injunctive relief and

all other relief allowed under the UCL, and such other and further relief as this Court may deem

just and proper.

                                           COUNT III
               Violations of the Florida Deceptive and Unfair Trade Practices Act
                                  Florida Stat. § 501.201 et seq.

        188.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        189.     This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade

Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the

FDUTPA is to “protect the consuming public . . . from those who engage in unfair methods of

competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade

or commerce.” § 501.202(2), Fla. Stat.

        190.     Plaintiff and Class members are consumers as defined by section 501.203, Fla.

Stat.



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        191.    Defendant is engaged in trade or commerce within the meaning of the FDUTPA.

        192.    Much of Defendant’s acts and practices at issue in this matter were directed at and

caused harm to Florida and Florida residents.

        193.    Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of

competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce.”

        194.    Defendant’s unfair and deceptive practices as described herein are objectively

likely to mislead – and did mislead – consumers acting reasonably in the circumstances.

        195.    Defendant has violated the FDUTPA by engaging in the unfair and deceptive

practices as described herein, which offend public policies and are immoral, unethical,

unscrupulous and injurious to consumers.

        196.    Plaintiff and Class members have been aggrieved by Defendant’s unfair and

deceptive practices.

        197.    The harm suffered by Plaintiff and Class members was directly and proximately

caused by the deceptive and unfair practices of Defendant, as more fully described herein.

        198.    Absent Defendant’s acts and practices, Plaintiff and members of the Class would

not have purchased the Nike NFTs at the prices paid, or at all.

        199.    Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiff and members of

the Class make claims for actual damages, attorneys’ fees and costs.

                                          COUNT IV
                    Violations of the Oregon Unlawful Trade Practices Act
                                    Or. Rev. Stat. § 646.607


        200.    Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.


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       201.    This cause of action is brought pursuant to Oregon’s Unlawful Trade Practices Act

(UTPA), Or. Rev. Stat. § 646.607.

       202.    The UTPA states that: “[a] person engages in an unlawful trade practice if in the

course of the person’s business, vocation or occupation the person: (1) Employs any

unconscionable tactic in connection with selling… of… goods or services[.]” Or. Rev. Stat. §

646.607.

       203.    Defendant qualifies as a “person” as defined by the UTPA, Or. Rev. Stat. §

646.607.

       204.    Defendant’s unfair and deceptive practices as described herein constitute an

unconscionable tactic in that they are objectively likely to mislead – and did mislead – consumers

acting reasonably in the circumstances.

       205.    Much of Defendant’s acts and practices at issue in this matter were directed at and

caused harm to Oregon and Oregon residents.

       206.    Plaintiff and Class members have been aggrieved by Defendant’s unfair and

deceptive practices.

       207.    The harm suffered by Plaintiff and Class members was directly and proximately

caused by the deceptive and unfair practices of Defendant, as more fully described herein.

       208.    Absent Defendant’s acts and practices, Plaintiff and members of the Class would

not have purchased the Nike NFTs at the prices paid, or at all.

       209.    Pursuant to the UTPA, Plaintiff and members of the Class make claims for actual

damages, attorneys’ fees and costs.




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                                              COUNT V
                                           Unjust Enrichment

        210.    Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        211.    Plaintiff conferred a monetary benefit upon Defendant, and Defendant accepted

funds that it knew, or should have known, were derived from the sale of unregistered securities

and/or of crypto assets sold via deception.

        212.    With Plaintiff’s money, Defendant enriched itself.

        213.    Defendant has knowledge of the benefits that Plaintiff and Class Members

conferred on it.

        214.    Under principles of equity and good conscience, Defendant should not be

permitted to retain the funds and assets received as a result of their misleading promotion of

unregistered securities and/or crypto assets sold via deception to the unknowing Plaintiff.

        215.    As a result of Defendant’s conduct, Plaintiff has suffered damages in an amount to

be determined at trial.

        216.    To the extent permitted by law, Plaintiff seeks restitution of all funds and assets

that Defendant has unjustly received as a result of the conduct alleged herein, as well as interest,

reasonable attorneys’ fees, expenses, and costs to the extent allowable, as well as all other relief

the Court deems necessary to make Plaintiff whole.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment and

relief as follows:

        a)      That the Court determine that this action may be maintained as a class action, that
        Plaintiff be named as Class Representatives of the Class, that the undersigned be named as
        Lead Class Counsel of the Class, and direct that notice of this action be given to Class


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       members;

       b)    That the Court enter an order declaring that Defendant’s actions, as set forth in this
       Complaint, violate the laws set forth above;

       c)        That the Court award Plaintiff and the Class damages in an amount to be determined
       at trial;

       d)    That the court issue appropriate equitable, rescissionary and any other relief against
       Defendant to which Plaintiff and the Class are entitled;

       e)     That the Court award Plaintiff and the Class pre- and post-judgment interest;

       f)      That the Court award Plaintiff and the Class their reasonable attorneys’ fees and
       costs of suit; and

       g)     That the Court award any and all other such relief as the Court may deem just and
       proper under the circumstances.

                                 JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.



Dated: April 25, 2025                        THE ROSEN LAW FIRM, P.A.

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